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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

JAVIOUS L. HUGHES                                                                     PLAINTIFF
#160322

v.                                Case No. 4:20-cv-00734-LPR

LEONARD HOGG, et al.                                                              DEFENDANTS

                                           JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and adjudged

that this case is DISMISSED without prejudice for failure to prosecute. The Court certifies pursuant

to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the Order and Judgment

dismissing this action is considered frivolous and not in good faith.

       IT IS SO ADJUDGED this 20th day of October 2020.



                                                     _________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
